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                                                                               United States Bankruptcy Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                                                                                      May 03, 2024
                  IN THE UNITED STATES BANKRUPTCY COURT
                                                                                   Nathan Ochsner, Clerk
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

 IN RE:                                      §          Chapter 11
 GALLERIA 2425 OWNER, LLC,                   §          Case No. 23-34815 (JPN)
     Debtor                                  §


            ORDER GRANTING LAW OFFICES OF JACK J. ROSE, PLLC
                AND JACK J. ROSE’S MOTION TO WITHDRAW


      Upon consideration of the Law Offices of Jack J. Rose, PLLC and Jack J. Rose’s Motion

to Withdraw as Counsel for 2425 WL, LLC, it is hereby ORDERED that:

      1.     The Motion is granted.

      2.     Jack J. Rose is removed as counsel of record to 2425 WL, LLC in this matter and

             all related proceedings and all applicable notice and service lists shall be updated

             accordingly.

IT IS SO ORDERED.

Signed:                 , 2024


            May 03,04,
             April  2024
                       2018
                                          JEFFREY P. NORMAN
                                          UNITED STATES BANKRUPTCY JUDGE
